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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF MARYLAND
                                      (Baltimore Division)

    In re                                                    Case No. 25-10308 (DER)

    Diamond Comic Distributors, Inc., et al.,                Chapter 11

                             Debtors. 1                      (Jointly Administered)

                                                             Objection Deadline:
                                                             May 15, 2025

     SECOND MONTHLY FEE APPLICATION OF SAUL EWING LLP, COUNSEL TO
          THE DEBTORS, FOR ALLOWANCE OF COMPENSATION AND
              REIMBURSEMENT OF EXPENSES FOR THE PERIOD
               FROM MARCH 1, 2025 THROUGH MARCH 31, 2025

Name of applicant:                                              Saul Ewing LLP

Authorized to provide
professional services to:                                       Debtors and Debtors in Possession

Petition Date:                                                  January 14, 2025

Date of retention:                                              February 28, 2025 nunc pro tunc to January
                                                                14, 2025 2

This is a:                                                      Monthly application for compensation

Period for which compensation
and reimbursement are sought:                                   March 1, 2025 through March 31, 2025

Amount of compensation sought:                                  $537,383.75 (80% of which is $429,907.00)

Amount of expense reimbursement sought:                         $3,431.09



1
      The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax identification
      numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters, Inc.
      (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
      Road, Suite 300, Hunt Valley, Maryland 21030.

2
      On February 28, 2025, the Court entered the Order Authorizing the Employment and Retention of Saul Ewing
      LLP, as Bankruptcy Counsel to the Debtors, Effective as of the Petition Date [D.I. 185].


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      Blended hourly rate for this application:                            $705.60

                             SUMMARY OF PRIOR MONTHLY FEE APPLICATIONS

       DATE         PERIOD         REQUESTED       REQUESTED    UNOPPOSED      UNOPPOSED      PAID        PAID        HOLDBACK
       FILED       COVERED            FEES          EXPENSES       FEES         EXPENSES      FEES      EXPENSES        FEES



      4/16/2025    1/14/2025-      $756,360.00     $12,089.77   $756,360.00    $12,089.77     $0.00     $0.00         $151,272.00
                   2/28/2025       (80% of which
                                   is
                                   $605,088.00)
                   Totals:         $756,360.00     $12,089.77   $756,360.00    $12,089.77     $0.00     $0.00         $151,272.00



                                SUMMARY OF PRIOR INTERIM FEE APPLICATIONS

DATE        PERIOD        ORDER         REQUESTED       REQUESTED    UNOPPOSED       UNOPPOSED        PAID        PAID     HOLDBACK
FILED      COVERED       ENTERED           FEES          EXPENSES       FEES          EXPENSES        FEES      EXPENSES     FEES



N/A        N/A           N/A            N/A             N/A          N/A             N/A              N/A       N/A        N/A

                         Totals:




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                          COMPENSATION BY ATTORNEY PROFESSIONALS

               NAME OF      POSITION   DEPARTMENT     YEAR     HOURLY     TOTAL       TOTAL
             PROFESSIONAL                           ADMITTED   BILLING    HOURS    COMPENSATION
                                                                RATE      BILLED

             Michael A.
             Finio          Counsel    Corporate    1983       $1,080     0.6      $648.00
             Mark Minuti    Partner    Bankruptcy   1988       $975       88.8     $86,580.00
             Jeffrey C.
             Hampton        Partner    Bankruptcy   1990       $860       198      $170,280.00
             Adam H.
             Isenberg       Partner    Bankruptcy   1988       $860       187.9    $161,594.00
             Dennis J.
             Brennan        Partner    Corporate    1998       $830       0.5      $415.00
             Darius C.
             Gambino        Partner    Litigation   1999       $825       3.3      $2,722.50
             Mark D.
             Simpson        Partner    Litigation   1988       $785       0.6      $471.00
             Monique B.
             DiSabatino     Partner    Bankruptcy   2009       $620       11.1     $6,882.00
             Jordan D.
             Rosenfeld      Partner    Litigation   2013       $565       3.4      $1,921.00
             Paige N.
             Topper         Associate Bankruptcy    2017       $505       115.5    $58,327.50
             Turner N.
             Falk           Associate Bankruptcy    2014       $485       21.9     $10,621.50
             Emily K.
             Strine         Associate Corporate     2019       $465       8.9      $4,138.50
             Nicholas
             Smargiassi     Associate Bankruptcy    2023       $355       93.4     $33,157.00
             Maxwell M.
             Hanamirian     Associate Bankruptcy    2024       $325       13.5     $4,387.50
             Total for
             Attorneys:                                                   747.4    $542,145.50
             Minus 50%
             for Non-
             Working
             Travel                                                                ($9,221.25)
             Grand Total
             for
             Attorneys:                                                   747.4    $532,924.25




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                COMPENSATION BY PARAPROFESSIONAL OR STAFF MEMBER

                  NAME OF              POSITION       DEPARTMENT        HOURLY     TOTAL       TOTAL
             PARAPROFESSIONAL                                           BILLING    HOURS    COMPENSATION
              OR STAFF MEMBER                                            RATE      BILLED
                                                      Litigation /
             Patricia Markey        Paralegal         Bankruptcy        $315       11.5     $3,622.50
             Robyn E. Warren        Paraprofessional Bankruptcy         $310       2.7      $837.00
             Total for                                                             14.2     $4,459.50
             Paraprofessionals
             and other staff:

                         COMPENSATION BY PROFESSIONAL CATEGORY

                       PROFESSIONALS BLENDED TOTAL         TOTAL
                                       RATE    HOURS COMPENSATION
                       Partners      $872.90   493.60 $430,865.50
                       Counsel       $1,080.00 0.6    $648
                       Associates                $436.94       253.20      $110,632.00
                       Paraprofessionals         $314.05       14.20       $4,459.50
                       Minus 50% for
                       Non-Working
                       Travel                                              ($9,221.25)
                       Total Amount
                       Sought for
                       Application Period                                  $537,383.75
                       Blended Hourly
                       Rate/Total fees                                     $705.60
                       Less 20%
                       Holdback                                            $107,476.75
                       Total Adjusted
                       Fees Requested                                      $429,907.00




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                          COMPENSATION BY PROJECT CATEGORY

        NO.              PROJECT CATEGORY                    TOTAL HOURS            TOTAL
                                                               BILLED           COMPENSATION
             1.   Asset Sale Disposition                         414              $329,487.00
             2.   Business Operations                            38.2              $32,739.50
             3.   Case Administration                            74.2              $39,699.00
             4.   Claims Analysis, Objections, Proofs of
                                                                   15.8                 $8,380.50
                  Claim
             5.   Committee Matters                                20.6             $16,978.00
             6.   Creditor Inquiries                               5.5               $2,274.50
             7.   Employee Benefits Pension                        69.1             $38,756.00
             8.   Executory Contracts                              27.1             $13,970.00
             9.   Fee/Employment Applications
                                                                   5.6                  $3,143.00
                  (Saul Ewing)
         10.      Fee/Employment Applications
                                                                   8.9                  $3,888.00
                  (Other Professionals)
         11.      Financing and Cash Collateral                     19                  $9,640.50
         12.      Litigation: Contested Matters and
                                                                   5.6                  $1,988.00
                  Adversary Proceedings
         13.      Non-Working Travel                               22.7             $18,442.50
         14.      Plan and Disclosure Statement                    1.6               $568.00
         15.      Preparation for and Attendance at
                                                                   24.5             $21,134.00
                  Hearings
         16.      Relief from Stay and Adequate Protection         1.6               $1,376.00
         17.      Statements and Schedules                         5.1               $2,857.50
         18.      UST Reports, Meetings and Issues                 2.5               $1,283.00
                  Total:                                          761.6             $546,605.00
                  Minus 50% for Non-Working Travel                                  ($9,221.25)
                                                                 Grand Total        $537,383.75
                                                                80% of Total        $429,907.00
                                                               Compensation:
                                        ITEMIZED EXPENSES

                        EXPENSE CATEGORY                                 EXPENSES
              Cab Fare                                       $121.13
              Court Reporter Services                        $708.10
              Filing Fees                                    $199.00
              Hotel                                          $731.36
              Mileage                                        $22.50
              Parking                                        $73.00
              Transportation-Amtrak                          $1,424.00
              Westlaw Legal Research                         $152.00
              Total:                                         $3,431.09


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             1.   Pursuant to sections 330 and 331 of title 11 of the United States Code (the

“Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), Local Bankruptcy Rule 2016-1 and Appendix D, and the Order Establishing Procedures

for Interim Compensation and Reimbursement of Expenses for Professionals [D.I. 203] (the “Interim

Compensation Order”), Saul Ewing LLP (“Saul Ewing” or the “Applicant”), counsel to the debtors

and debtors in possession (collectively, the “Debtors”), hereby applies to the Court for its first

monthly fee application for professional services rendered and reimbursement of actual and

necessary expenses incurred for the period March 1, 2025 through March 31, 2025 (the “Application

Period”). In accordance with the Interim Compensation Order, Saul Ewing requests authority to be

paid by the Debtors $537,383.75 (80% of which is $429,907.00) and $3,431.09 in expenses incurred

during the Application Period.

             2.   Attached hereto as Exhibit A is a detailed itemization, by project category, of all

services performed by the Applicant with respect to these matters during the Application Period. In

addition, in accordance with Local Bankruptcy Rule 2016-1, set forth below are summaries

describing the services performed within each category. Attached hereto as Exhibit B is a

Declaration of Applicant with respect to the compensation requested.

             3.   As outlined by Appendix D, the Johnson factors are: (1) the time and labor

expended; (2) the novelty and difficulty of the questions raised; (3) the skill required to properly

perform the professional services rendered; (4) the professionals’ opportunity costs in pursing the

matter; (5) the customary fee for like work; (6) the professional’s expectations as to the

compensation at the outset of the matter; (7) the time limitations imposed by the client or

circumstances; (8) the amount in controversy and the results obtained; (9) the experience,

reputation, and ability of the professional; (10) the desirability or undesirability of the case within



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the professional community in which the case arose; (11) the nature and length of the professional

relationship between the professional and client; and (12) professional fee awards in similar cases.

See Johnson v. Georgia Highway Exp., Inc., 488 F.2d 714, 717–19 (5th Cir. 1974); see also Barber

v. Kimbrell’s, Inc., 577 F.2d 216, 226 (4th Cir. 1978) (agreeing that the Johnson factors “must be

considered by district courts in this circuit in arriving at a determination of reasonable attorneys’

fees in any case where such determination is necessary). Factors two, four, eight, ten, eleven, and

twelve are not applicable to this fee application.

             4.   For the first factor of time and labor expended, Saul Ewing spent a total of 761.6

hours of attorney and paraprofessional time during the Application Period across eighteen different

project categories. In Johnson, the Fifth Circuit explained that hours spent, although not the sole

contributor, “are a necessary ingredient to be considered” and that a judge “should weigh the hours

claimed against his knowledge, experience, and expertise of the time required to complete similar

activities.” Johnson, 577 F.2d at 717. Furthermore, duplicative efforts where more than one

attorney is involved . . . should be scrutinized.” Id. In handling various matters for the Debtors,

Saul Ewing has and will continue to work as efficiently as possible while avoiding duplicative

efforts amongst its attorneys and paraprofessionals.

             5.   Under Johnson, the third factor requires a judge to “closely observe the attorney’s

work product, his preparation, and general ability before the court.” Id. at 718. Here, Saul Ewing

has produced high quality work product and consistently appeared before the Court with the utmost

preparation and ability during the Application Period. In particular, for the month of March, Saul

Ewing’s work product with respect to the postpetition sale process culminated in a successful

auction for substantially all of the Debtors’ assets.

             6.   Factor five, the customary fee for like work, has been described as the “customary



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fee for similar work in the community.” Id. For the Application Period, Saul Ewing seeks to be

paid by the Debtors $537,383.75 (80% of which is $429,907.00) and $3,431.09 in expenses. These

amounts are reasonable given the scale and complexities of the Debtors’ chapter 11 cases.

Furthermore, Saul Ewing has and currently represents other debtors in various, large-scale chapter

11 cases and asserts the amounts asserted in this Application Period are reasonable and comparable.

             7.   Johnson explains that the sixth factor, the professional’s expectations as to the

compensation at the outset of the matter, is based on whether the “fee quoted to the client or the

percentage of the recovery agreed to is helpful in demonstrating the attorney’s fee expectations when

he accepted the case.” Id. at 718. The Fifth Circuit explained that the litigant should never “be

awarded a fee greater than he is contractually bound to pay, if indeed the attorneys have contracted

as to amount.” Id. On February 5, 2025, the Debtors filed the Debtors’ Application for Entry of an

Order Authorizing the Employment and Retention of Saul Ewing LLP as Bankruptcy Counsel to the

Debtors, Effective as of the Petition Date [D.I. 106] (the “Saul Ewing Retention Application”), which

detailed Saul Ewing’s standard hourly rates in its representation of the Debtors. The Court approved

the Saul Ewing Retention Application on February 28, 2025. See D.I. 185. The compensation

sought by Saul Ewing for the Application Period is consistent with the rates included in the Court-

approved Saul Ewing Retention Application.

             8.   For the seventh factor, the time limitations imposed by the client or circumstances,

“[p]riority work that delays the lawyer’s other legal work is entitled to some premium.” Johnson,

488 F.2d at 718. Here, Saul Ewing’s fees for the Application Period are justifiable as large-scale,

complex chapter 11 cases move swiftly and often impose small windows to properly meet deadlines.

This is especially true during the beginning stages of complex chapter 11 cases, such as these cases.

             9.   Factor nine addresses the experience, reputation, and ability of the professionals.



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The court in Johnson stated, “[m]ost fee scales reflect an experience differential with the more

experienced attorneys receiving larger compensation” but that longevity “should not dictate the

higher fee.” Id. at 718–19. Here, Saul Ewing’s attorneys have extensive knowledge of, and

experience with, complex chapter 11 cases that justify its fees for the Application Period. Saul

Ewing further represents that its fees are within market for the services the firm provides.

             10.    For the foregoing reasons, the compensation requested by Saul Ewing for the Fee

Application is reasonable based upon customary compensation and reimbursement of expenses

charged by Saul Ewing and comparably skilled professionals in non-bankruptcy matters.

CATEGORY 1: ASSET SALE DISPOSITION.

             This category includes all matters relating to the disposition, and other post-petition uses
             of, property of the estates, including issues arising from the sale of substantially all of the
             Debtors’ assets. Time in this category includes revising and finalizing a sale motion;
             reviewing and analyzing correspondence in connection to the sale; drafting and revising a
             non-disclosure agreement; resolving sale-related issues; analyzing contracts related to the
             sale; reviewing and analyzing an asset purchase agreement; analyzing and negotiating bids;
             and preparing for and attending the auction. Saul Ewing spent 414 hours of attorney time
             on the foregoing services. Said services have a value of $329,487.00 for which Saul Ewing
             is seeking compensation.




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                                            Asset Sale Disposition
                      Professionals         Position         Hours        Compensation

                   M. Finio             Partner                0.6                 $648.00
                   M. Minuti            Partner               48.5               $47,287.50
                   J. Hampton           Partner              138.2             $118,852.00
                   A. Isenberg          Partner              146.3             $125,818.00
                   D. Brennan           Partner                0.5                 $415.00
                   D. Gambino           Partner                3.3                $2,722.50
                   M. Simpson           Partner                0.6                 $471.00
                   P. Topper            Associate             33.4               $16,867.00
                   T. Falk              Associate              4.9                $2,376.50
                   E. Strine            Associate              8.9                $4,138.50
                   N. Smargiassi        Associate             17.7                $6,283.50
                   M. Hanamirian        Associate             11.1                $3,607.50
                   Total                                      414              $329,487.00

CATEGORY 2: BUSINESS OPERATIONS.

             This category includes all matters relating to the general operation of the Debtors’
             businesses. Saul Ewing spent 38.2 hours of attorney time on the foregoing services. Said
             services have a value of $32,739.50 for which Saul Ewing is seeking compensation.

                                             Business Operations
                      Professionals         Position         Hours        Compensation
                   J. Hampton           Partner               33.8              $29,068.00
                   A. Isenberg          Partner               4.1                $3,526.00
                   T. Falk              Associate             0.3                  $145.50
                   Total                                      38.2              $32,739.50

CATEGORY 3: CASE ADMINISTRATION.

             This category includes all matters related to work regarding the administration of the cases,
             including updating a case calendar; drafting and revising administrative motions;
             addressing comments to various motions; revising first day orders; and drafting
             certifications of counsel and certificates of no objection. Saul Ewing spent 74.2 hours of
             attorney and paraprofessional time on the foregoing services. Said services have a value
             of $39,699.00 for which Saul Ewing is seeking compensation.




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                                               Case Administration
                      Professionals           Position         Hours        Compensation

                   M. Minuti              Partner               0.9                  $877.50
                   J. Hampton             Partner               11.7              $10,062.00
                   A. Isenberg            Partner               8.1                $6,966.00
                   J. Rosenfeld           Partner               1.6                  $904.00
                   P. Topper              Associate             19.5               $9,847.50
                   N. Smargiassi          Associate             20.9               $7,419.50

                   P. Markey              Paralegal             11.5               $3,622.50

                   Total                                        74.2              $39,699.00


CATEGORY 4: CLAIMS ANALYSIS, OBJECTIONS, PROOFS OF CLAIM.

             This category includes all time spent in connection with claim and bar date issues. Time
             in this category includes responding to creditor inquires regarding claims, and drafting a
             bar date motion and related exhibits. Saul Ewing spent 15.8 hours of attorney time on the
             foregoing services. Said services have a value of $8,380.50 for which Saul Ewing is
             seeking compensation.

                             Claims Analysis, Objections, Proofs of Claim and Bar Date
                      Professionals           Position         Hours        Compensation
                   J. Hampton             Partner               1.2                $1,032.00
                   A. Isenberg            Partner               1.5                $1,290.00
                   P. Topper              Associate             9.3                $4,696.50
                   T. Falk                Associate             0.1                      $48.50
                   N. Smargiassi          Associate             3.7                $1,313.50
                   Total                                        15.8               $8,380.50




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CATEGORY 5: COMMITTEE MATTERS.

             This category includes all time spent in connection with Committee matters, including
             correspondence with the Committee, and responding to Committee information requests
             and informal comments to motions. Saul Ewing spent 20.6 hours of attorney time on the
             foregoing services. Said services have a value of $16,978.00 for which Saul Ewing is
             seeking compensation.

                                            Committee Matters
                      Professionals        Position        Hours        Compensation
                   M. Minuti           Partner               4.1               $3,997.50
                   J. Hampton          Partner               7.6               $6,536.00
                   A. Isenberg         Partner                6                $5,160.00
                   P. Topper           Associate             1.7                 $858.50
                   N. Smargiassi       Associate             1.2                 $426.00
                   Total                                    20.6              $16,978.00

CATEGORY 6: CREDITOR INQUIRIES.

             This category includes all matters related to communicating with creditors and parties in
             interest regarding case status and case-related issues. Saul Ewing spent 5.5 hours of
             attorney time on the foregoing services. Said services have a value of $2,274.50 for which
             Saul Ewing is seeking compensation.

                                             Creditor Inquiries
                      Professionals        Position        Hours        Compensation
                   M. Minuti           Partner               0.1                  $97.50
                   T. Falk             Associate              2                  $970.00
                   N. Smargiassi       Associate             3.4               $1,207.00
                   Total                                     5.5               $2,274.50




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CATEGORY 7: EMPLOYEE BENEFITS/PENSION MATTERS

             This category includes all matters related to employee matters or employee benefits,
             including reviewing and analyzing employment issues; drafting a KEIP/KERP motion;
             negotiating the KEIP/KERP; and preparing a KEIP/KERP reply. Saul Ewing spent 69.1
             hours of attorney and paraprofessional time on the foregoing services. Said services have
             a value of $38,756.00 for which Saul Ewing is seeking compensation.

                                         Employee Benefits Pension
                      Professionals        Position        Hours       Compensation
                   M. Minuti           Partner               8.4               $8,190.00
                   A. Isenberg         Partner               4                 $3,440.00
                   M. DiSabatino       Partner              11.1               $6,882.00
                   P. Topper           Associate            19.2               $9,696.00
                   T. Falk             Associate             9.6               $4,656.00
                   N. Smargiassi       Associate            15.2               $5,396.00
                   R. Warren           Paraprofessional      1.6                $496.00
                   Total                                    69.1            $38,756.000

CATEGORY 8: EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

             This category includes all matters related to executory contracts. Time in this category
             includes correspondence in connection to revising the contract list; drafting the
             supplemental contract notice; addressing cure amount issues; and analyzing cure
             objections. Saul Ewing spent 27.1 hours of attorney time on the foregoing services. Said
             services have a value $13,970.00 for which Saul Ewing is seeking compensation.

                                            Executory Contracts
                      Professionals        Position        Hours       Compensation
                   M. Minuti           Partner               0.1                 $97.50
                   J. Hampton          Partner               0.2                $172.00
                   A. Isenberg         Partner               5.1               $4,386.00
                   P. Topper           Associate             7.1               $3,585.50
                   T. Falk             Associate             4.2               $2,037.00

                   N. Smargiassi       Associate            10.4               $3,692.00
                   Total                                    27.1             $13,970.00




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CATEGORY 9: FEE/EMPLOYMENT APPLICATIONS (SAUL EWING).

             This category includes all matters related to the review and preparation of Saul Ewing’s
             first monthly fee application. Saul Ewing spent 5.6 hours of attorney time on the foregoing
             services. Said services have a value of $3,143.00 for which Saul Ewing is seeking
             compensation.

                                   Fee/Employment Applications (Saul Ewing)
                      Professionals         Position         Hours        Compensation
                   J. Hampton           Partner               2.4                  $2,064.00
                   P. Topper            Associate             0.1                    $50.50
                   N. Smargiassi        Associate             0.7                   $248.50
                   M. Hanamirian        Associate             2.4                   $780.00
                   Total                                      5.6                  $3,143.00

CATEGORY 10: FEE/EMPLOYMENT APPLICATIONS (OTHER PROFESSIONALS).

             This category includes all matters related to the review and analysis and filing of retention
             and fee applications for other professionals in these chapter 11 cases. Saul Ewing spent
             8.9 hours of attorney time on the foregoing services. Said services have a value of
             $3,888.00 for which Saul Ewing is seeking compensation.

                               Fee/Employment Applications (Other Professionals)
                      Professionals         Position         Hours        Compensation
                   A. Isenberg          Partner               0.3                   $258.00
                   P. Topper            Associate             3.5                  $1,767.50
                   T. Falk              Associate             0.4                   $194.00
                   N. Smargiassi        Associate             4.7                  $1,668.50
                   Total                                      8.9                  $3,888.00

CATEGORY 11: FINANCING AND CASH COLLATERAL.

             This category includes all matters related to DIP financing and cash collateral, including
             drafting a motion to approve a stipulation to amend the DIP Credit Agreement; negotiating
             and drafting an amendment to the DIP; and analyzing related DIP issues. Saul Ewing spent
             19 hours of attorney time on the foregoing services. Said services have a value of $9,640.50
             for which Saul Ewing is seeking compensation.




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                                       DIP Financing and Cash Collateral
                      Professionals          Position        Hours         Compensation
                   M. Minuti             Partner               0.2                 $195.00
                   A. Isenberg           Partner               3.4                $2,924.00
                   P. Topper             Associate             7.1                $3,585.50
                   T. Falk               Associate             0.3                 $145.50
                   N. Smargiassi         Associate             6.9                $2,449.50
                   R. Warren             Paraprofessional      1.1                 $341.00
                   Total                                      19.0                $9,640.50

CATEGORY 12: LITIGATION: CONTESTED MATTERS AND ADVERSARY
PROCEEDINGS.

             This category includes all matters related to litigation. Time in this category includes
             conducting legal research in connection to removing state court actions and drafting and
             revising a motion to extend the deadline to remove actions. Saul Ewing spent 5.6 hours of
             attorney time on the foregoing services. Said services have a value of $1,988.00 for which
             Saul Ewing is seeking compensation.

                             Litigation: Contested Matters and Adversary Proceedings
                      Professionals          Position        Hours         Compensation
                   N. Smargiassi         Associate             5.6                $1,988.00
                   Total                                       5.6                $1,988.00


CATEGORY 13: NON-WORKING TRAVEL.

             This category includes all matters related to non-working travel, which time is billed at
             50% of the time incurred. Time in this category includes traveling to Baltimore for the
             hearing on the motion to approve the stipulation to amend the DIP Credit Agreement and
             traveling to and from New York from various locations for the asset sale auction. Saul
             Ewing spent 22.7 hours of attorney time on the foregoing services. Said services have a
             value of $18,442.50 (50% - $9,221.25) for which Saul Ewing is seeking compensation.




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                                             Non-Working Travel
                      Professionals          Position        Hours       Compensation
                   M. Minuti             Partner               7.9              $7,702.50
                   J. Hampton            Partner               2.7              $2,322.00
                   A. Isenberg           Partner               6.5              $5,590.00
                   P. Topper             Associate             5.6              $2,828.00
                   Total                                      22.7             $18,442.50
                   Minus 50% for Non-Working Travel                            ($9,221.25)
                   Grand Total                                22.7              $9,221.25

CATEGORY 14: PLAN AND DISCLOSURE STATEMENT.

             This category includes time related to plan and disclosure issues. Time in this category
             includes conducting legal research for plan exclusivity. Saul Ewing spent 1.6 hours of
             attorney time on the foregoing services. Said services have a value of $568.00 for which
             Saul Ewing is seeking compensation.

                                         Plan and Disclosure Statement
                      Professionals          Position        Hours       Compensation
                   N. Smargiassi         Associate             1.6                $568.00
                   Total                                       1.6                $568.00

CATEGORY 15: PREPARATION FOR AND ATTENDANCE AT HEARINGS.

             This category includes all matters related to preparation for and attendance at hearings.
             Time in this category includes preparing for and attending the hearing on the motion to
             approve the stipulation to amend the DIP Credit Agreement; and preparing for the sale
             hearing. Saul Ewing spent 24.5 hours of attorney time on the foregoing services. Said
             services have a value of $21,134.00 for which Saul Ewing is seeking compensation.

                                  Preparation for and Attendance at Hearings
                      Professionals          Position        Hours       Compensation
                   M. Minuti             Partner              18.6             $18,135.00
                   J. Hampton            Partner               0.2                $172.00
                   A. Isenberg           Partner               0.1                 $86.00
                   J. Rosenfeld          Partner               1.8              $1,017.00
                   P. Topper             Associate             2.5              $1,262.50
                   N. Smargiassi         Associate             1.3                $461.50
                   Total                                      24.5             $21,134.00




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CATEGORY 16: RELIEF FROM STAY AND ADEQUATE PROTECTION.

             This category includes time related to relief from stay and adequate protection matters.
             Time in this category includes addressing automatic stay issues. Saul Ewing spent 1.6
             hours of attorney time on the foregoing services. Said services have a value of $1,376.00
             for which Saul Ewing is seeking compensation.

                                 Relief from Stay and Adequate Protection
                      Professionals        Position        Hours        Compensation
                   A. Isenberg         Partner               1.6               $1,376.00
                   Total                                     1.6               $1,376.00

CATEGORY 17: STATEMENTS AND SCHEDULES.

             This category includes time related to statements and schedules. Time in this category
             includes analyzing schedules and statements for potential amendments. Saul Ewing spent
             5.1 hours of attorney time on the foregoing services. Said services have a value of
             $2,857.50 for which Saul Ewing is seeking compensation.

                                         Statements and Schedules

                      Professionals        Position        Hours        Compensation

                   A. Isenberg         Partner               0.8                 $688.00
                   P. Topper           Associate             4.2               $2,121.00
                   T. Falk             Associate             0.1                  $48.50

                   Total                                     5.1               $2,857.50

CATEGORY 18: UST REPORTS, MEETINGS AND ISSUES.

             This category includes time related to the preparation of information required by the U.S.
             Trustee or the Court. Time in this category includes responding to information requests
             from the U.S. Trustee and addressing questions regarding monthly operating reports. Saul
             Ewing spent 2.5 hours of attorney time on the foregoing services. Said services have a
             value of $1,283.00, for which Saul Ewing is seeking compensation.




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                                       UST Reports, Meetings and Issues
                      Professionals            Position            Hours         Compensation

                   A. Isenberg             Partner                  0.1                  $86.00
                   P. Topper               Associate                2.3                $1,161.50
                   N. Smargiassi           Associate                0.1                  $35.50
                   Total                                            2.5                $1,283.00

EXPENSES.

             Saul Ewing seeks $3,431.09 in expenses for the following categories:

                                               Summary of Expenses
                    Expense Category            Service Provider (if applicable)         Total
                  Total Cab Fare                        New York Cab; Uber                $121.13
                  Total Court Report
                                                                                          $708.10
                  Servicers                             Writer’s Cramp, Inc.
                  Total Filing Fees                  Maryland Bankruptcy Court            $199.00
                  Total Hotel                  Intercontinental New York Barclay          $731.36
                  Total Mileage                             N/A                            $22.50
                  Total Parking              Premium Parking; Wilmington Parking
                                                                                           $73.00
                                                        Authority
                  Total Transportation -
                                                                                        $1,424.00
                  Amtrak                                        Amtrak
                  Total Westlaw Legal
                                                                                          $152.00
                  Research                             Westlaw Legal Research
                  Total                                                                 $3,431.09




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             WHEREFORE, Saul Ewing respectfully requests, in accordance with the Interim

Compensation Order, that the Debtors direct payment of interim compensation in the amount of

$537,383.75 (80% of which is $429,907.00) for legal services rendered on behalf of the Debtors

during the Application Period, and reimbursement of disbursements in the amount of $3,431.09.

Dated: May 1, 2025                            SAUL EWING LLP

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                                              -and-

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                                              -and-

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                                              Counsel for Debtors and Debtors in Possession




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